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Attorneys for Defendant NIKE, INC.


                             UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                  PORTLAND DIVISION

  KELLY CAHILL et al.,                        Case No. 3:18-cv-01477-JR

               Plaintiffs,                    DECLARATION OF
                                              FELICIA A. DAVIS IN SUPPORT OF
        vs.                                   DEFENDANT NIKE INC.’S MOTION
                                              FOR SUMMARY ADJUDICATION
  NIKE, INC., an Oregon Corporation,

               Defendant.




DECLARATION OF FELICIA A. DAVIS IN SUPPORT OF NIKE’S MOTION FOR
SUMMARY ADJUDICATION
        Case 3:18-cv-01477-JR          Document 456         Filed 04/05/24     Page 2 of 23




                             DECLARATION OF FELICIA A. DAVIS

       I, Felicia A. Davis, declare and state as follows:

       1.       I am an attorney duly licensed to practice law in the State of California, and am

admitted pro hac vice to the District Court of Oregon. I am a partner at the law firm of Paul

Hastings LLP, counsel of record for Defendant NIKE, Inc. (“NIKE”) in the above-captioned

lawsuit. I have personal knowledge of the facts contained herein, or know of such facts by my

review of the files maintained by Paul Hastings LLP in the normal course of its business, and if

called upon to do so, could and would competently testify thereto.

       2.       I submit this Declaration in Support of NIKE’s Motion for Summary

Adjudication.

       3.       On Wednesday, April 3, 2024, NIKE delivered a correspondence, via e-mail, to

Plaintiffs’ counsel, in a good faith effort to meet and confer in order to resolve this dispute.

Attached hereto as Exhibit A, is a true and correct copy of the e-mail and the attached
correspondence.

       4.       On Thursday, April 4, 2024, Plaintiffs’ counsel sent an email, offering to discuss

the matter in the next week or two, after NIKE’s deadline to file this Motion. On, April 5, 2024,

I responded to Plaintiffs’ counsel and offered to discuss the matter via telephone on the same

day. However, as of the time of this filing, Plaintiffs’ counsel has not responded.

       5.       As a result, the parties have not been able to resolve this dispute.

       6.       On June 14, 2019, Plaintiffs produced documents to NIKE, including:

                (a)    A copy of the Charge filed with the EEOC by Plaintiff Sara Johnston on

August 7, 2018. Attached hereto as Exhibit B, is a true and correct copy of an excerpt of Ms.
Johnston’s EEOC Charge, showing she signed the Charge on August 7, 2018, bates-stamped

PLF_0000923;

                (b)    A copy of the Charge filed with the EEOC by Plaintiff Lindsey Elizabeth

on August 23, 2018. Attached hereto as Exhibit C, is a true and correct copy of an excerpt of



Page 1 –    DECLARATION OF FELICIA A. DAVIS IN SUPPORT OF NIKE’S MOTION
            FOR SUMMARY ADJUDICATION
        Case 3:18-cv-01477-JR        Document 456        Filed 04/05/24     Page 3 of 23




Ms. Elizabeth’s EEOC Charge, showing she signed the Charge on August 23, 2018, bates-

stamped PLF_0000843; and

               (c)    A copy of the Charge filed with the EEOC by Plaintiff Heather Hender on

November 9, 2018. Attached hereto as Exhibit D, is a true and correct copy of an excerpt of Ms.
Hender’s EEOC Charge, showing she signed the Charge on November 9, 2018, bates-stamped

PLF_0000875.

       7.      Attached hereto as Exhibit E, is a true and correct copy of relevant excerpts of
the Deposition Transcript of Plaintiff Kelly Cahill, taken by me on November 18, 2020,

including an excerpt of one exhibit, showing that Ms. Cahill signed the Charge she submitted to

the Oregon Bureau of Labor and Industry on July 25, 2018.



       I declare under penalty of perjury, pursuant to 28 U.S.C. § 1746 and the laws of the United

States of America and the State of Oregon that the foregoing is true and correct.

       Executed this 5th day of April 2024, at Los Angeles, California.




                                                     /s/Felicia A. Davis
                                                     Felicia A. Davis




Page 2 –    DECLARATION OF FELICIA A. DAVIS IN SUPPORT OF NIKE’S MOTION
            FOR SUMMARY ADJUDICATION
                Case 3:18-cv-01477-JR      Document 456          Filed 04/05/24        Page 4 of 23




From:                        Greider, Teresa M.
Sent:                        Wednesday, April 3, 2024 1:29 PM
To:                          bgoldstein@gbdhlegal.com; brgoldstein@gbdhlegal.com;
                             laurasalerno@markowitzherbold.com; DavidMarkowitz@MarkowitzHerbold.com;
                             HarryWilson@MarkowitzHerbold.com; KathrynRoberts@MarkowitzHerbold.com;
                             cja@ackermanntilajef.com; lho@gbdhlegal.com; kfisher@gbdhlegal.com;
                             msun@gbdhlegal.com; india@indialinbodienlaw.com; bd@ackermanntilajef.com;
                             jb@ackermanntilajef.com
Cc:                          Davis, Felicia A.; Prince, Daniel; Jackson, Lindsey C.; Tapper, Alyssa; Featherstun, Brian
Subject:                     Cahill v. NIKE - Letter re Meet and Confer
Attachments:                 Nike_Cahill - 2024-04-03 Nike's Letter Regarding Meet and Confer on
                             MSA(119425206.1).pdf


Counsel:

Please see attached.

 Sincerely,


                        Teresa Greider | Associate Employment Law Department
                        Paul Hastings LLP | 515 South Flower Street, Twenty-Fifth Floor, Los Angeles, CA 90071 |
                        Direct: +1.213.683.6109 |Teresagreider@paulhastings.com | www.paulhastings.com




                                                                                     Exhibit A, Page 1 of 3
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April 3, 2024


VIA E-MAIL

Barry Goldstein (bgoldstein@gbdhlegal.com)
Byron Goldstein (brgoldstein@gbdhlegal.com)
James Kan (jkan@gbdhlegal.com)
Mengfei Sun (msun@gbdhlegal.com)
Goldstein, Borgen, Dardarian & Ho
155 Grand Avenue, Suite 900
Oakland, CA 94612

Re:     Cahill, et al. v. Nike, Inc.
        U.S. District Court Case No. 3:18-cv-01477

Dear Counsel:

We write to inform you that NIKE intends to move the Court for summary adjudication on Plaintiff Kelly
Cahill’s second and third Claims for Relief under Title VII. This correspondence is NIKE’s good faith effort
to meet and confer on the Motion. For the reasons detailed below, NIKE requests Plaintiffs dismiss Ms.
Cahill’s second and third Claims for Relief because they are time-barred.

Under Title VII, a plaintiff must timely file a charge of discrimination with the EEOC, within 300 days of the
alleged unlawful act, before pursuing her claims in court. See 42 U.S.C. § 2000e-5(b), (e)(1), (f)(1).
Plaintiff Cahill failed to file any charge with the EEOC; her Title VII claims are, thus, barred.

Plaintiff Cahill’s charge, filed with the Oregon Bureau of Labor and Industries (“BOLI”) one year after her
separation, on July 25, 2018, does not revive her Title VII claims. First, BOLI did not co-file the charge
with the EEOC. Second, even if it had, Ms. Cahill’s BOLI charge was filed more than 300 days after any
alleged unlawful conduct could have occurred—exactly one year after she ended her employment on July
25, 2017. Thus, Plaintiff Cahill did not timely file a charge sufficient to proceed under Title VII.

Further, none of the other Plaintiffs (Hender, Elizabeth, or Johnston) filed a charge with the EEOC within
300 days of Plaintiff Cahill’s last day of employment (July 25, 2017), thus she cannot “piggyback” on their
EEOC charges.

 Named Plaintiff       Date EEOC Charge Filed                 # Days After Cahill Left NIKE (July 25, 2017)

 Johnston              August 7, 2018 (SAC ¶ 26)              378 days

 Elizabeth             August 23, 2018 (SAC ¶ 39)             394 days

 Hender                November 15, 2018 (SAC ¶ 17)           472 days




                                                                                   Exhibit A, Page 2 of 3
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Therefore, Plaintiff Cahill’s second and third Claims for Relief under Title VII are barred and should be
dismissed.

For the reasons set forth above, NIKE requests that Plaintiffs dismiss Ms. Cahill’s second and third
Claims for Relief and save the parties and the Court the time and expense of unnecessary motion
practice. Please let us know by 12:00 pm PT on April 4, 2024, if Ms. Cahill will dismiss these claims.
Otherwise, NIKE will file its motion for summary adjudication.

Sincerely,

/s/ Felicia A. Davis

Felicia A. Davis
of PAUL HASTINGS LLP


FAD:tmg
LEGAL_US_W # 119252559.4




                                                                                  Exhibit A, Page 3 of 3
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                                                        Exhibit B, Page 1 of 1
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                                                        Exhibit C, Page 1 of 1
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                                                        Exhibit D, Page 1 of 1
     Case 3:18-cv-01477-JR   Document 456     Filed 04/05/24     Page 10 of 23


1                     UNITED STATES DISTRICT COURT
2                              DISTRICT OF OREGON
3                              PORTLAND DIVISION
4
5
6    KELLY CAHILL, et al.,                       )
7                            Plaintiffs,         )
8             VS.                                ) NO. 3:18-CV-01477-JR
9    NIKE, INC., an Oregon                       )
10   Corporation,                                )
11                           Defendants.         )
12   ______________________________)
13
14
15   VIDEOCONFERENCE DEPOSITION OF:
16                      KELLY CAHILL
17                      WEDNESDAY, NOVEMBER 18, 2020
18                      12:10 P.M.
19
20
21
22   REPORTED BY:
23                      Sari M. Knudsen
24                      CSR No. 13109
25

                                                                         Page 1

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                                    866 299-5127
                                                               Exhibit E, Page 1 of 14
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1        Q     Other than the administrative charge you                    00:25:48

2    filed against Nike with the -- with BOLI, B-O-L-I,                    00:25:55

3    have you ever filed another administrative or agency                  00:25:59

4    charge of discrimination against an employer?                         00:26:03

5        A     No.                                                         00:26:06

6        Q     Have you ever accused another employer of                   00:26:09

7    discrimination?                                                       00:26:10

8        A     No.                                                         00:26:13

9        MR. GOLDSTEIN:      Objection.                                    00:26:14

10   BY MS. DAVIS:                                                         00:26:14

11       Q     Have you ever made any internal complaints                  00:26:17

12   of discrimination at any employer other than Nike?                    00:26:21

13       A     No.                                                         00:26:24

14       Q     Have you ever made any internal complaints                  00:26:27

15   of harassment against any employer other than Nike?                   00:26:30

16       A     No.                                                         00:26:40

17       Q     Again, I don't want you to tell me what you                 00:26:42

18   discussed.      But when did you first engage counsel                 00:26:45

19   for any matters related to your employment with                       00:26:48

20   Nike?                                                                 00:26:51

21       A     Oh, gosh.     Don't recall clearly.        But it           00:26:56

22   would have been in 2018.                                              00:27:00

23       Q     Okay.     Well, you filed your -- a charge of               00:27:11

24   discrimination with the Oregon Bureau of Labor &                      00:27:17

25   Industry in July of 2018.                                             00:27:20

                                                                         Page 23

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                                                               Exhibit E, Page 2 of 14
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1              Did you engage -- did you first contact                     00:27:23

2    counsel before you filed that charge?                                 00:27:26

3        A     Yes.                                                        00:27:27

4        MR. GOLDSTEIN:      Objection.     If you want to show            00:27:30

5    the document, you can.      But we can't obviously tell               00:27:38

6    her what the facts are.                                               00:27:43

7    BY MS. DAVIS:                                                         00:27:43

8        Q     So with the benchmark of the BOLI filing,                   00:27:47

9    does that refresh your recollection approximately                     00:27:50

10   what month in 2018 you first contacted counsel                        00:27:53

11   related to your employment with Nike?                                 00:27:57

12       A     Yes.    That helps refresh the month.                       00:28:02

13       Q     Okay.    Approximately how many months before               00:28:04

14   you filed the charge did you first contact counsel                    00:28:09

15   with respect to your employment at Nike?                              00:28:11

16       A     I don't remember.                                           00:28:13

17       Q     Okay.    Could you give me an estimate?            Was      00:28:16

18   it one month?     Three months?      Six months?                      00:28:19

19       A     I really don't remember.                                    00:28:23

20       Q     Okay.    You have no recollection?                          00:28:25

21       A     No.                                                         00:28:27

22       Q     Okay.    What law firm did you initially                    00:28:33

23   reach out to related to your employment with Nike?                    00:28:39

24       A     Goldstein.                                                  00:28:40

25       Q     That was the first counsel -- that was the                  00:28:45

                                                                         Page 24

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                                                               Exhibit E, Page 3 of 14
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1    BY MS. DAVIS:                                                             01:44:01

2        Q      Go ahead.                                                      01:44:02

3        A      Correct.                                                       01:44:13

4        Q      You started working for Nike as a                              01:44:22

5    contractor in the role of Digital Brand Senior                            01:44:25

6    Producer in October of 2012?           Is that your best                  01:44:33

7    recollection?                                                             01:44:34

8        A      That is my best recollection.                                  01:44:37

9        Q      And you held that role until                                   01:44:39

10   October of 2013.       Is that correct?                                   01:44:41

11       A      Correct.                                                       01:44:43

12       Q      And in October of 2013, you were hired as a                    01:44:45

13   Nike employee.       Correct?                                             01:44:47

14       A      Correct.                                                       01:44:49

15       Q      Okay.     You said earlier before the break                    01:44:55

16   that it was -- something about the contractor                             01:44:59

17   position was a new role at Nike.             What did you mean            01:45:03

18   by that?                                                                  01:45:04

19       A      It was -- it was within a digital brand,                       01:45:10

20   and it was specifically with Nike.com that hadn't --                      01:45:16

21   hadn't been done -- hadn't been done before.                              01:45:20

22              I'm sorry.     So I do apologize.             That is --       01:45:22

23   that is -- I can figure out how to turn that off on                       01:45:27

24   my computer.       Hold on.                                               01:45:28

25       MR. GOLDSTEIN:       Yeah, reminds me.          I should make         01:45:30

                                                                             Page 60

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                                                                   Exhibit E, Page 4 of 14
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1                (Whereupon Defendants' Exhibit 5                           02:08:41

2                was marked for identification)                             02:08:41

3    BY MS. DAVIS:                                                          02:08:41

4        Q       Okay.    Do you recognize Exhibit 5 as your                02:08:49

5    offer letter to become a Nike employee dated                           02:08:53

6    October 16, 2013?                                                      02:08:55

7        A       Yes.                                                       02:09:01

8        Q       Okay.    And this was after the one-year                   02:09:04

9    period of time you worked as the Digital Brand                         02:09:06

10   Senior Producer for Nike.com as a contractor.                          02:09:11

11   Correct?                                                               02:09:12

12       A       Yes.    Close to one year.     Correct.                    02:09:15

13       Q       Okay.    And when you were originally hired                02:09:17

14   as a Nike employee, your start date was October 21,                    02:09:24

15   2013.   At least as reflected on Exhibit 5.                            02:09:28

16               Do you see that?                                           02:09:29

17       A       Yes.                                                       02:09:31

18       Q       Okay.    And do you believe that that was                  02:09:33

19   your start date at Nike as a Nike employee,                            02:09:36

20   October 21, 2013?                                                      02:09:37

21       A       I believe that to be correct, yes.                         02:09:41

22       Q       Okay.    And your title when you were hired                02:09:43

23   as a Nike employee was Global Digital Cross-Category                   02:09:45

24   Director.     Correct?                                                 02:09:51

25       A       Of Nike.com, yes.                                          02:09:53

                                                                          Page 76

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1        A       Yes.    He did have one.     One to my                     02:25:43

2    knowledge, yes.                                                        02:25:45

3        Q       Also a manager?                                            02:25:46

4        A       Also a manager, yes.                                       02:25:48

5        Q       Did he supervise anyone else to your                       02:25:50

6    knowledge?                                                             02:25:50

7        A       Not to my knowledge.                                       02:26:03

8        Q       All right.                                                 02:26:11

9                In approximately December of 2014, you                     02:26:14

10   moved into a new role called Brand Director for                        02:26:19

11   Nike.com.     Is that correct?                                         02:26:21

12       MR. GOLDSTEIN:       Objection.                                    02:26:23

13       THE WITNESS:       If I could see the -- a document                02:26:26

14   that shows that to jog my memory of the exact title,                   02:26:30

15   that would be helpful.                                                 02:26:31

16   BY MS. DAVIS:                                                          02:26:31

17       Q       Okay.    What would -- how would you                       02:26:33

18   articulate your title when you changed jobs in                         02:26:36

19   December of 2014?                                                      02:26:37

20       A       North America Nike.com brand -- Digital                    02:26:45

21   Brand Director or as --                                                02:26:47

22       Q       Okay.                                                      02:26:48

23       A       -- as reflected on my resume.                              02:26:49

24       Q       Okay.    Was that considered a promotion?                  02:27:08

25       A       No.                                                        02:27:08

                                                                          Page 88

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                                                                Exhibit E, Page 6 of 14
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1    onto a manager on my team.            I just couldn't recall               09:03:26

2    if she directly reported to me before or not.                    But I     09:03:29

3    would have recommended for her to do that.                                 09:03:37

4                Trying to recall.         I did recommend and help             09:03:43

5    convert people from contractors to full-time Nike                          09:03:47

6    employees.                                                                 09:03:52

7        Q       Did you ever make any recommendations that                     09:03:53

8    someone should be promoted other than yourself?                            09:04:01

9        A       I do not recall.                                               09:04:12

10       Q       You -- after you left Nike, you were                           09:04:20

11   employed by Adidas.        Correct?                                        09:04:23

12       A       Correct.                                                       09:04:24

13       Q       Okay.     You first applied for a position                     09:04:27

14   with Adidas in April of 2017.             Does that seem                   09:04:32

15   accurate?                                                                  09:04:33

16       A       That does seem accurate.                                       09:04:35

17       Q       Okay.     Did you apply to any other companies                 09:04:41

18   during your employment at Nike before you applied                          09:04:45

19   with Adidas in April of 2017?                                              09:04:49

20       MR. GOLDSTEIN:        Objection.                                       09:04:51

21       THE WITNESS:        Yes.                                               09:04:53

22   BY MS. DAVIS:                                                              09:04:53

23       Q       Where?                                                         09:04:56

24       A       I do not recall most off the top of my                         09:05:02

25   head.               I had discussions with Tommy Bahama.                   09:05:04

                                                                              Page 282

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1    BY MS. DAVIS:                                                         09:35:13

2        Q     Exhibit 30 is bates stamped PLF 014177                      09:35:20

3    through 014178.                                                       09:35:25

4              (Whereupon Defendant's Exhibit 30                           09:35:25

5              was marked for identification)                              09:35:25

6    BY MS. DAVIS:                                                         09:35:25

7        Q     Do you have Exhibit 30 in front of you?                     09:35:29

8        A     Yes.                                                        09:35:32

9        Q     And is Exhibit 30 your resignation e-mailed                 09:35:36

10   to Nike dated July 27, 2017?                                          09:35:39

11       A     Correct.                                                    09:35:43

12       Q     And in the e-mail, you wrote,                               09:35:46

13                     "Here is an e-mail confirming my                    09:35:48

14             resignation from Nike effective today,                      09:35:51

15             July 25, 2017."                                             09:35:52

16             Correct?                                                    09:35:56

17       A     Correct.                                                    09:35:57

18       Q     Okay.     Had you given anyone else at Nike                 09:35:59

19   notice before you wrote the e-mail at Exhibit 30                      09:36:02

20   that you were going to be leaving?                                    09:36:05

21       A     Tyler and Erin --                                           09:36:08

22       Q     Anyone else?                                                09:36:09

23       A     Erin Keane.     She had my computer badge and               09:36:14

24   credit card.                                                          09:36:16

25       Q     When did you first tell Tyler Allen that                    09:36:19

                                                                        Page 297

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1    Correct?                                                                09:41:03

2           A    Correct.                                                    09:41:05

3           Q    And you told Adidas that you were making                    09:41:06

4    $142,000 a year.        Correct?                                        09:41:10

5           A    Correct.                                                    09:41:20

6           Q    All right.     I've marked as Exhibit 32 a                  09:42:40

7    multipage document bates stamped PLF 749 through                        09:42:46

8    756.                                                                    09:42:50

9                (Whereupon Defendant's Exhibit 32                           09:42:50

10               was marked for identification)                              09:42:50

11   BY MS. DAVIS:                                                           09:42:50

12          Q    Do you recognize Exhibit 32?                                09:43:04

13          A    I have read this exhibit before.           Yes.             09:43:14

14          Q    Okay.     Do you recognize Exhibit 32 as the                09:43:17

15   complaint you submitted with the Bureau of Labor and                    09:43:21

16   Industry in Oregon related to your employment with                      09:43:25

17   Nike?                                                                   09:43:29

18          A    Yes.                                                        09:43:31

19          Q    Okay.     Did you prepare this document, or                 09:43:34

20   did your lawyers prepare it?                                            09:43:36

21          MR. GOLDSTEIN:     Objection.                                    09:43:38

22          THE WITNESS:     My lawyers --                                   09:43:40

23   BY MS. DAVIS:                                                           09:43:40

24          Q    Go ahead.                                                   09:43:41

25          A    My lawyers prepared this document.                          09:43:46

                                                                          Page 301

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                                                                 Exhibit E, Page 9 of 14
DocuSign Envelope ID: F92F0540-F232-4D00-BB88-AC017653E5F4
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            Cahill v. Nike
            No. 3:18-cv-01477-JR (D. Or.)

            Deposition Date: November 18, 2020

            Deponent: Kelly Cahill

              Page     Line(s)   Reads                  Should Read         Reason
              25       13        payee quality          pay equality        To correct a transcription error
              25       17        payee quality          pay equality        To correct a transcription error
              38       9         selling in new         selling new         To correct a transcription error
                                 products               products
              40       8         then ex-husband        then husband        To correct a transcription error
              43       20        Gem Soda               Jones Soda          To correct a transcription error
              48       23        2011                   2012                To correct inadvertent error in year
              59       23        EPW                    ETW                 To correct a transcription error
              123      6         Insures                Ensures             To correct a transcription error
              142      3         CFE’s                  CFEs                To correct a transcription error
              163      4         participants           participates        To correct a transcription error
              163      18        participants           participates        To correct a transcription error
              173      9-10      Was rated              Was rated           To correct a transcription error
                                 during CFE one         Successful during
                                 year what I saw        CFE one year
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                                 getting. Not           everyone was
                                 necessarily the        getting
                                 case.                  Successful. But
                                                        then I saw that
                                                        was not
                                                        necessarily the
                                                        case.
              174      6         media                  meeting             To correct a transcription error
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              179      5         manager CFE            manager’s CFE       To correct a transcription error
              179      11        managing CFE           manager’s CFE       To correct a transcription error
              180      1         CFE's                  CFEs                To correct a transcription error
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              186      7         It                     He                  To correct a transcription error
              196      19        June 11                June 1              To correct a transcription error
              196      23        CFE's                  CFEs                To correct a transcription error
              222      2         dikes                  dykes               To correct a transcription error
              222      8         dike                   dyke                To correct a transcription error



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                                                                                        Exhibit E, Page 10 of 14
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              223      5         dikes                  dykes              To correct a transcription error
              251      24        CFAE’s                 CFEs               To correct a transcription error
              254      13        CFE's                  CFEs               To correct a transcription error
              263      7         D banding              debanding          To correct a transcription error
              263      17        D banding              debanding          To correct a transcription error
              284      19        Communication's        Communications     To correct a transcription error
              297      10        July 27                July 25            To correct a transcription error
              309      14        opportunity            opportunity to     To correct a transcription error
                                 proactively            proactively

                   Subject to the above changes, I declare under the penalties of perjury of the laws of the
            United States that my deposition transcript is true and correct.

                       Executed on 1/6/2021                  in West Newton, MA __________.


                                                                                    ______________
                                                                                    Kelly Cahill




            794325.3
                                                                                       Exhibit E, Page 11 of 14
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               EXHIBIT 32




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                                                                                      ORI !NM_


                                                   BUREAU OF LABOR AND INDUSTRIES
                                           Civil Ri hts ivision omplaint of LJflL.aW:ful Pra tice

QOMPLAN/ANT;                                         Case Ii: 17.E.M.Sx1.0071.1114

Kea., Cahill

REDACTED

RESPONDENT;                                          Contact: (503) 671-6453:

Nike,: Joe.
One Bowerman priw.
Beayer;911,..PK:97006

County: Washington                                   # ofEmployees: 75,000+

ORS. 659A.030

See attached :statement for the particulars and the signature of the Complainant.




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that my opinion did not matter. At the sane time, on information and belief, the male Director
on my Team was included in the hiring process.




       44.    I complained to Nike Human. Resources on four separate occasions, including
about the above- described incidents. None of those complaints resulted in any meaningful
consequences or corrective actions.

 V.    CLASS CLAIMS-

        45.     It is my understanding and belief that Nike has engaged in a continuing pattern or
practice of discrimination based on sex against female Oregon Corporate Employees throughout
the United States with respect to performance evaluations, compensation, promotions, and other
terms and conditions of employment at Nike.

       46.     Among other means, Nike: lias implemented this pattern and practice of
discrimination through a rating system that systematically underrates female Oregon Corporate
Employees as compared to their male peers, denies them fair compensation, denies them
promotions, and increases the likelihood of termination. On information and belief, Nike also
condones disparities in pay and promotion as well as retaliation against female employees who
complain about discrimination.

       47.    Nike's performance review, compensation, and promotion systems have an         .




adverse impact on female Oregon Corporate Employees throughout the United States. On
information and belief, although Nike has known about the adverse impact of their practices on
women's compensation and promotional opportunities, Nike failed to take steps to address the
adverse impact.

        I swear under penalty of perjury that I have read the above charge and that it is true and
correct to the best of my knowledge, information, and belief. This charge is not intended to be
exhaustive, but representative of the treatment to which Nike has subjected me;
                                                                             ~AC


       Date:     :        ,
                                                      Kelly Ca ll
                                                      Charging ' arty



                                                 8
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                                                                        Exhibit E, Page 14 of 14
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